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 February 24, 2021

 Via CM/ECF

 The Honorable Sanket J. Bulsara
 United States Magistrate Judge, Eastern District of New York
 225 Cadman Plaza East
 Brooklyn, New York 11201

 Re:          Schmitt v. China XD Plastics Co. Ltd., et al., No. 1:20-CV-06028

 Dear Judge Bulsara:
         Pursuant to the Court’s February 17, 2021 Order, we respond on behalf of Defendants to
 Plaintiff’s February 12, 2021 opposition (the “Opposition”) to the Stay Motion.
         Plaintiff’s Opposition confirms that his strategy is to try to elbow his way into a settled
 case, even if that means taking inconsistent and unreliable positions. Contrary to the Opposition’s
 insistence that Plaintiff would “delete[] all claims, all allegations and all counts for fiduciary duty
 breaches and aiding and abetting thereof” from his Amended Complaint (the “AC”), the AC he
 filed on February 17, 2021, ECF No. 19, still plainly alleges duplicative and overlapping breach
 of fiduciary duty (Count IV) and aiding and abetting (Count V) claims—rendering the
 Opposition’s representations at best erroneous. Indeed, Plaintiff did nothing more than convert
 Count I, which previously alleged individual claims for violations of Section 14(a) and Rule 14a-
 9, into a purported class claim that will be released by the proposed settlement in the prior-filed
 Nevada action. Plaintiff also failed to comply with Federal Rule of Civil Procedure 15(a), which
 requires consent from opposing parties or leave of court to amend a complaint more than 21 days
 after service. Plaintiff obtained neither. In any case, the AC’s new class claim pleads Plaintiff
 straight into the Private Securities Litigation Reform Act (“PSLRA”) and its automatic stay of
 discovery, and thus stands in the way of his pursuit of discovery in the Nevada action.
       In sum, because the AC fails to remove the overlap with the Nevada action or refute
 Defendants’ arguments, it reinforces that a stay is appropriate and necessary.
       I.            The AC Does Not Moot The Stay Motion And Reinforces A Stay Is Needed
        Contrary to the Opposition’s assertion that the AC would “relieve[] this Court of any
 concerns” about litigating a case in New York when virtually identical issues have reached
 settlement in Nevada, the AC continues to include duplicative, overlapping breach of fiduciary
 duty claims. Even if Plaintiff had removed the breach of fiduciary claims, the AC nonetheless
 would reinforce the need for a stay because amended Count I (now asserting class claims under
 Section 14(a) and Rule 14(a)-9) will be released by the proposed settlement in the Nevada action.1
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         Plaintiff does not even attempt to argue that his Section 13 claim supports an injunction, and for
 good reason: It is asserted on an individual (not class-wide) basis and arises out of a separate transaction
 disclosed in a separate proxy statement over a year ago.

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 See Gabelli v. Sikes Corp., 1990 WL 213119, at *5 (S.D.N.Y. Dec. 14, 1990). Thus, allowing
 Plaintiff to litigate his federal disclosure claims on an expedited basis plainly will yield the very
 type of unnecessary litigation that Colorado River abstention seeks to avoid.

         Plaintiff tries—and fails—to distinguish Gabelli by arguing that Colorado River abstention
 is inappropriate for claims under the Exchange Act. Opp. at 5. But Plaintiff ignores that a stay is
 appropriate where, as here, there is the “imminent possibility” that the state court action “will
 dispose of the exclusive federal issue” by approving a settlement with releases. Gabelli, 1990 WL
 213119, at *5. Plaintiff offers no law to the contrary, and none of the cases he cites in an effort to
 distinguish Gabelli involved a settlement. Gabelli also recognizes that a stay is proper where the
 exclusive federal claim is frivolous, which likewise applies here. Besides being untimely,
 Plaintiff’s Section 14 claims are premised on alleged disclosure deficiencies that in many instances
 were disclosed and plainly are not material as a matter of law. (Compare, e.g., AC ¶ 70, asserting
 that Final Proxy fails to make “any disclosures” related to May 19 – June 15, 2020 negotiations
 with Final Proxy at 22-27, a true and correct copy of which is attached hereto as Exhibit A.) The
 proxy fairly and accurately disclosed all material facts related to the Transaction and, as this Circuit
 has long recognized, the “appropriate standard” for proxy disclosures is “[f]air accuracy, not
 perfection.” Kennecott Copper Corp. v. Curtiss-Wright Corp., 584 F.2d 1195, 1200 (2d Cir.
 1978).2

          With his amended class claim, Plaintiff also has pleaded himself into the PSLRA, which
 triggers an automatic stay of discovery pending this Court’s determination of whether the AC
 sufficiently states a claim. See 15 U.S.C. § 78u–4(b)(3)(B); Podany v. Robertson Stephens, Inc.,
 350 F. Supp. 2d 375, 378 (S.D.N.Y. 2004). Further, even if this case were permitted to proceed,
 it is not clear whether Plaintiff—an Iowa resident who waited months to bring his suit—would
 lead it. The PSLRA imposes a long process for appointing lead plaintiff and plaintiff’s counsel (a
 process Plaintiff does not indicate he has started). See 15 U.S.C. § 78u–4(a)(3). A slight delay in
 the closing of the Transaction will not relieve Plaintiff of this necessary process. See Opp. at 1–2.
     II.   Plaintiff’s Disclosure Claims Provide No Basis For An Injunction.
        Plaintiff will suffer no prejudice from a stay because he cannot possibly make the showing
 necessary to obtain an injunction.
         First, as courts in this Circuit and elsewhere uniformly recognize, a plaintiff should seek
 injunctive relief before a stockholder vote. See, e.g., Koppel v. 4987 Corp., 167 F.3d 125, 137 (2d
 Cir. 1999) (“The courts should provide parties with no encouragement to sit on live claims until
 after a shareholder vote.”). Thus, courts routinely deny requests for injunctive relief if they are
 not brought sufficiently in advance of a stockholder vote. See Ratner v. Forest City Realty Trust,
 Inc., 2018 WL 6167311, at *4 (N.D. Ohio Nov. 26, 2018) (denying request for injunctive relief


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          Plaintiff also attempts to distinguish Gabelli by asserting that the court “granted the stay in large
 part because ‘the Gabelli Entities intervened’” in the state actions. Opp. at 5. This is a distortion. The
 court merely recognized that plaintiffs had “an opportunity to file objections to the tentative settlement of
 the class actions,” just as Plaintiff will be afforded in Nevada. Gabelli, 1990 WL 213119, at *6.
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 made three days before stockholder vote); Galaton v. Johnson, 2011 WL 9688271, at *2 (E.D.N.C.
 Aug. 17, 2011) (denying request for injunctive relief made 11 days before stockholder vote).
         Here, it is undisputed that the stockholder vote approving the Transaction occurred on
 November 5, 2020, over a month before Plaintiff filed this lawsuit. Plaintiff’s attempt to exploit
 the Company’s recent announcement of a slight delay in the closing is unavailing. The right at
 issue with a disclosure claim is “the right to receive fair disclosure of the material facts necessary
 to cast a fully informed vote.” Globis Partners, 2007 WL 4292024 at *10. Plaintiff’s position
 that he should be permitted to seek to enjoin the Transaction based on alleged disclosure
 deficiencies in the Final Proxy makes no sense and fails as a matter of law.
         Second, given that Plaintiff’s extraordinary delay brings him to the Court after the
 stockholder vote, what Plaintiff really seeks is an affirmative injunction requiring that the
 stockholder vote be rescinded and a new vote conducted. AC ¶ 57. This is a truly extraordinary
 request subject to an even “higher standard” of proof. See Islam v. Cuomo, 475 F. Supp. 3d 144,
 152 (E.D.N.Y. 2020). Plaintiff cannot show any likelihood of success on the merits, let alone a
 “clear or substantial likelihood of success on the merits.” Id. Plaintiff’s alleged disclosure
 deficiencies are nothing more than a hodgepodge of “tell me more” allegations that have become
 ubiquitous in proxy disclosure strike suits—and that are routinely rejected.3
         Third, the doctrine of laches bars Plaintiff’s request. The record amply establishes the
 elements of laches—namely, (1) lack of diligence by the party against whom the defense is
 asserted, and (2) prejudice to the party asserting the defense. See Hizam v. Kerry, 741 F.3d 102,
 110 (2d Cir. 2014). Plaintiff’s lack of diligence is well documented, and Defendants would be
 prejudiced if forced to defend this frivolous and duplicative case.
                                               * * * * *
         Based on the foregoing, as well as the reasons set forth in Defendants’ February 5, 2021
 letter, Defendants respectfully request the Stay Motion be granted and further request that the
 Court deny Plaintiff’s request for an order requiring Defendants to turn over the discovery
 produced in the Nevada action and allowing Plaintiff to participate in any further discovery “in
 Nevada.”




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           Plaintiff’s request for an order requiring Defendants to turn over discovery produced in the Nevada
 action and allowing Plaintiff to participate in any further discovery “in Nevada” is misplaced. As noted,
 Plaintiff ignores the PSLRA’s automatic discovery stay pending resolution of a motion to dismiss, which
 Defendants have indicated their intent to file if the Stay Motion were denied. See 15 U.S.C. § 78-
 u4(b)(3)(B); see In re Carnegie Int’l Corp. Sec. Litig., 107 F. Supp. 2d 676, 681 (D. Md. 2000) (refusing
 to lift automatic stay of discovery even where the defendant expressed only a “probable” intent to move to
 dismiss); In re Trump Hotel S’holder Derivative Litig., 1997 WL 442135, at *2 (S.D.N.Y. Aug. 5, 1997)
 (holding PSLRA automatic stay applied where motion to dismiss had not yet been filed given scheduling).
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                                          Respectfully submitted,

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 cc:    The Honorable Judge Nicholas G. Garaufis
